     Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 1 of 50




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
––––––––––––––––––––––––––––                        x

Luitpold Pharmaceuticals, Inc.,                     :       Case No. 11-cv-0681 (KBF) (THK)

Plaintiff, Counterclaim Defendant,                  :       ECF Case

v.                                                  :       Judge Katherine B. Forrest

Ed. Geistlich Söhne A.G. Für Chemische Industrie,   :
and OSTEOMEDICAL LTD.
                                                    :
Defendants, Counterclaim Plaintiffs.
––––––––––––––––––––––––––––                        x

                    LUITPOLD PHARMACEUTICALS, INC.’S
                       PROPOSED JURY INSTRUCTIONS

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     Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 2 of 50




                                   TABLE OF CONTENTS

I.    GENERAL INSTRUCTIONS – INTRODUCTORY _____________________ 3
      1.    Opening Instructions _________________________________________________________ 3
      2.    Order of Trial _______________________________________________________________ 6
      3.    Claims and Defenses _________________________________________________________ 7
      4.    Role of the Jury _____________________________________________________________ 8
II. GENERAL INSTRUCTIONS - EVIDENTIARY _______________________ 10
      1.    Preponderance of the Evidence ________________________________________________ 10
      2.    What Is and Is Not Evidence __________________________________________________ 12
      3.    Direct and Circumstantial Evidence _____________________________________________ 14
      4.    Depositions ________________________________________________________________ 16
      5.    Witness Credibility __________________________________________________________ 17
      6.    Discrepancies in Testimony ___________________________________________________ 19
      7.    Impeachment by Prior Inconsistent Statements ____________________________________ 20
      8.    Falsus in Uno ______________________________________________________________ 21
      9.    Expert Witnesses ___________________________________________________________ 22
      10.   Striking Evidence ___________________________________________________________ 23
      11.   Foreign Language Testimony __________________________________________________ 24
III. SPECIFIC INSTRUCTIONS - LIABILITY ___________________________ 25
      1.    Breach of Contract – Generally ________________________________________________ 25
      3.    Modification of Contract _____________________________________________________ 27
      4.    Breach of Contract – Underpayment ____________________________________________ 28
      5.    Breach of Contract – “Best Efforts” In Executing Business Plan ______________________ 29
      6.    Trademark - Definition _______________________________________________________ 31
      7.    Trademark Ownership – Exclusive License _______________________________________ 32
      8.    Breach of Contract – Exclusive Trademark License ________________________________ 33
      9.    Affirmative Defense - General Instruction ________________________________________ 34
      10.   Breach of Contract – License Agreement _________________ Error! Bookmark not defined.
      11.   Luitpold’s Affirmative Defense of Waiver________________________________________ 35
      12.   Luitpold’s Affirmative Defense of Laches and Delay _______________________________ 37
IV. SPECIFIC INSTRUCTIONS – DAMAGES ___________________________ 38
      1.    Damages __________________________________________________________________ 38
      2.    Proximate Cause ____________________________________________________________ 39
      3.    Compensatory Damages ______________________________________________________ 40
      4.    Lost Profits ________________________________________________________________ 42
      5.    Calculation of Lost Profit Damages _____________________________________________ 43
      6.    Prejudgment Interest_________________________________________________________ 44
      7.    Mitigation of Damages _______________________________________________________ 45
V.    GENERAL INSTRUCTIONS – DELIBERATION _____________________ 46
      1.    Duty To Deliberate / Unanimous Verdict_________________________________________ 46
      2.    Deadlock Charge: Reaching Agreement _________________________________________ 48
      3.    Selection of Foreperson ______________________________________________________ 49
      4.    Return of Verdict ___________________________________________________________ 50




                                                 2
     Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 3 of 50




I.      GENERAL INSTRUCTIONS – INTRODUCTORY

        1.     Opening Instructions

        We are about to begin the trial of the case you heard about during the jury

selection. Before the trial begins, I am going to give you instructions that will help you

to understand what will be presented to you and how you should conduct yourself during

the trial.

        During the trial you will hear me use a few terms that you may not have heard

before. Let me briefly explain some of the most common ones to you. The party who

sues is called the plaintiff. In this case, the plaintiffs are Ed. Geistlich Sohne A.G. Fur

Chemische Industrie, or “Geistlich,” and Osteomedical Ltd., or “Osteomedical.” For

purposes of convenience, and unless I state otherwise, when I refer to “Geistlich,”

“plaintiffs” or “plaintiff,” I am referring to both Geistlich and Osteomedical collectively.

        The party being sued is called the defendant. In this action, the defendant is

Luitpold Pharmaceuticals, Inc. which I will refer to as “Luitpold,” or by its operating

division involved in this case, “Osteohealth.” Geistlich is seeking to recover damages

from Luitpold for injuries that Geistlich claims to have experienced as a result of

Luitpold's conduct. In addition, Luitpold has filed what are known as “counterclaims,”

for which Luitpold seeks to recover damages from Geistlic for injuries that the Luitpold

claims to have experienced as a result of Geistlich’s conduct.

        You will sometimes hear me refer to “counsel.” “Counsel” is another way of

saying “lawyer” or “attorney.” I will sometimes refer to myself as the “Court.” When I

“sustain” an objection, I am excluding that evidence from this trial for a good reason.

When you hear that I have “overruled” an objection, I am permitting that evidence to be

admitted.

                                              3
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 4 of 50




       When I say “admitted into evidence” or “received into evidence,” I mean that this

particular statement or the particular exhibit may be considered by you in making the

decisions you must make at the end of the case.

       By your verdict, you will decide disputed issues of fact. I will decide all questions

of law that arise during the trial. Before you begin your deliberation at the close of the

case, I will instruct you in more detail on the law that you must follow and apply.

Because you will be asked to decide the facts of this case, you should give careful

attention to the testimony and evidence presented. During the trial you should keep an

open mind and should not form or express any opinion about the case until you have

heard all of the testimony and evidence, the lawyers’ closing arguments, and my

instructions to you on the law.

       While the trial is in progress, you must not discuss the case in any manner among

yourselves or with anyone else. In addition, you should not permit anyone to discuss the

case in your presence. You should avoid reading any news articles that might be

published about the case, or doing any independent research – either on the Internet or

otherwise – about the case. You should also avoid watching or listening to any

commentary on the trial, whether on television, radio comments or the Internet.

       From time-to-time during the trial, I may make rulings on objections or motions

made by the lawyers. It is a lawyer’s duty to object when the other side offers testimony

or other evidence the lawyer believes is not admissible. You should not be biased or

partial against a lawyer or the lawyer’s client because the lawyer has made objections. If

I sustain or uphold an objection to a question that goes unanswered by the witness, you

should not draw any inferences or conclusions from the question. You should not infer or



                                              4
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 5 of 50




conclude from any ruling or other comment I may make that I have any opinions on the

merits of the case favoring one side or the other. I do not favor one side or the other.

       The lawyers are not allowed to speak with you during this case. When you see

the lawyers at a recess or pass them in the halls and they do not speak to you, they are not

being rude or unfriendly; they are simply following the law.

       During the trial, it may be necessary for me to talk with the lawyers out of your

hearing about questions of law or procedure. Sometimes, you may be excused from the

courtroom during these discussions. I will try to limit these interruptions as much as

possible, but you should remember the importance of the matter you are here to

determine and should be patient even though the case may seem to go slowly.


Authority: Adapted from 3 Kevin F. O'Malley, Jay E. Grenig & William C. Lee,
Federal Jury Practice and Instructions § 101.01 (6 ed. 2012).




                                             5
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 6 of 50




       2.      Order of Trial

       The case will proceed as follows.

       After the opening statements, Geistlich will present evidence in support of its

claims. Luitpold's lawyer may then cross-examine Geistlich's witnesses. At the

conclusion of Geistlich's case, Luitpold will introduce evidence and Geistlich's lawyer

may cross-examine Luitpold's witnesses. At the conclusion of Luitpold's case, Geistlich

may then present rebuttal evidence. Luitpold then might provide further rebuttal to any

additional evidence that Geistlich has offered.

       After the evidence is presented, the parties’ lawyers will respectively make

closing arguments explaining what they believe the evidence has shown. What is said in

the closing arguments is not evidence.

       Finally, I will instruct you on the law that you are to apply in reaching your

verdict. You will then decide the case.


Authority: Adapted from 3 Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal
Jury Practice and Instructions § 101.02 (6th ed. 2012).




                                             6
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 7 of 50




       3.      Claims and Defenses

       The positions of the parties may be summarized as follows:

       Geistlich and Luitpold entered into a series of agreements with each other.

Geistlich now claims Luitpold breached those agreements. The agreements at issue are

called the Bio-Oss Commercial Agreement, the Bio-Oss License Agreement, and the

Bio-Gide License Agreement. Pursuant to these agreements, Luitpold obtained the

exclusive rights to build a market for, and to sell and market, Geistlich's dental products

“Bio-Oss” and “Bio-Gide” in the territories of North America, Mexico, and Japan. The

agreements at issue were originally signed in 1994. They were later amended in 1996,

1998, and again in 2008.

       Geistlich contends that Luitpold breached the agreements at issue in two respects.

First, by not paying enough to Geistlich for the “purchase price” for the Bio-Oss and Bio-

Gide products. Second, by failing to exercise its “best efforts” to continue execution of

the Business Plan referenced in the Bio-Oss Commercial Agreement.

       Luitpold denies that it breached the contracts at issue and asserts that it fully

complied with all of its obligations under the contract. Luitpold further asserts that since

1994 it has paid Geistlich whatever amounts that Geistlich invoiced in full and timely

manner, and that Geistlich, having accepted those payments, should not now be permitted

to claim that the amounts Luitpold paid were insufficient under the agreements at issue.

       In addition, Luitpold has also asserted counterclaims against Geistlich, contending

that Geistlich breached the Agreements in question by using certain trademarks that were

licensed exclusively to Luitpold in Luitpold’s territory during the term of the license.


Authority: Adapted from 3 Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal
Jury Practice and Instructions § 101.01 (6 ed. 2012).

                                              7
   Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 8 of 50




       4.      Role of the Jury

       As members of the jury, you are the sole and exclusive judges of the facts. You

pass upon the evidence. You determine the credibility of the witnesses. You resolve

such conflicts as there may be in the testimony. You draw whatever reasonable

inferences you decide to draw from the facts as you have determined them, and you

determine the weight of the evidence.

       In determining these issues, no one may invade your province or functions as

jurors. In order for you to determine the facts, you must rely upon your own recollection

of the evidence. What the lawyers say in their opening statements, in their summations,

in their objections, or in their questions is not evidence. Nor is what I may say evidence.

In this connection, you should bear in mind that a question put to a witness is never

evidence. It is only the answer that is evidence. But you may not consider any answer

that I directed you to disregard or that I direct be stricken from the record. Do not

consider such answers.

       Since you are the sole and exclusive judges of the facts, I do not mean to indicate

any opinion as to the facts or what your verdict should be. The rulings I will make during

the trial are not any indication of my views of what your decision should be as to whether

or not either side has proven its case.

       I also ask you to draw no inference if I ask questions of certain witnesses. Any

questions I may ask of a witness are intended to clarify or to expedite matters, and are not

intended to suggest any opinions on my part as to the verdict you should render, or

whether any of the witnesses may be more credible than any other witnesses. You should

understand that the court has no opinion as to the verdict you should render in this case.



                                             8
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 9 of 50




       As to the facts, ladies and gentlemen, you are the exclusive judges. You are to

perform the duty of finding the facts without bias or prejudice to any party.


Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 71-
3




                                             9
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 10 of 50




II.     GENERAL INSTRUCTIONS - EVIDENTIARY

        1.      Preponderance of the Evidence

        The party with the burden of proof on any given issue has the burden of proving

every disputed element of its claim to you by a preponderance of the evidence. If you

conclude that the party bearing the burden of proof has failed to establish its claim by a

preponderance of the evidence, you must decide against it on the issue you are

considering.

        What does a “preponderance of evidence” mean? To establish a fact by a

preponderance of the evidence means to prove that the fact is more likely true than not

true. A preponderance of the evidence means “the greater weight of the evidence.” It

refers to the quality and persuasiveness of the evidence, not to the number of witnesses or

documents. In determining whether a claim has been proved by a preponderance of the

evidence, you may consider the relevant testimony of all witnesses, regardless of who

may have called them, and all the relevant exhibits received in evidence, regardless of

who may have produced them.

        If you find that the credible evidence on a given issue is evenly divided between

the parties and that it is equally probable that one side is right as it is that the other side is

right, then you must decide that issue against the party having the burden of proof. That

is because the party bearing this burden must prove more than simple equality of

evidence. It must prove the element at issue by a preponderance of the evidence. On the

other hand, the party with this burden of proof need prove no more than a preponderance.

So long as you find that the scales tip, however slightly, in favor of the party with this

burden of proof -- that what the party claims is more likely true than not true -- then that

element will have been proved by a preponderance of evidence.

                                                10
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 11 of 50




       Some of you may have heard of proof beyond a reasonable doubt, which is the

standard of proof in a criminal trial. That requirement does not apply to a civil case such

as this one and you should put it out of your mind.


Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 73-
2




                                            11
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 12 of 50




       2.      What Is and Is Not Evidence

       The evidence in this case is the sworn testimony of the witnesses, the exhibits

received in evidence, and stipulations.

       By contrast, the question of a lawyer is not to be considered by you as evidence.

It is the witnesses’ answers that are evidence, not the questions. At times, a lawyer on

cross-examination may incorporate into a question a statement that assumes certain facts

to be true, and may ask the witness whether that statement is true. If the witness denies

the truth of a statement, and if there is no direct evidence in the record proving that

assumed fact to be true, then you may not consider it to be true simply because it was

contained in the lawyer’s question.

       Testimony that has been stricken or excluded is not evidence and may not be

considered by you in rendering your verdict. Also, if certain testimony was received for

a limited purpose – such as for the purpose of assessing a witness’ credibility – you must

follow the limiting instructions I have given.

       Arguments by lawyers are not evidence, because the lawyers are not witnesses.

What they say to you in their opening statements and in their summations is intended to

help you understand the evidence to reach your verdict. However, if your recollection of

the facts differs from the lawyers’ statements, it is your recollection that controls.

       To constitute evidence, exhibits must be received in evidence. Exhibits marked

for identification but not admitted are not evidence, nor are materials brought forth only

to refresh a witness’ recollection.

       Finally, statements that I may make concerning the quality of the evidence do not

constitute evidence.



                                              12
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 13 of 50




       It is for you alone to decide the weight, if any, to be given to the testimony you

will hear and the exhibits you will see.


Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶71-4




                                            13
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 14 of 50




       3.      Direct and Circumstantial Evidence

       There are two types of evidence that you may properly use in reaching your

verdict. One type of evidence is direct evidence. “Direct evidence” is when a witness

testifies about something he knows by virtue of his own senses – something he has seen,

felt, touched, or heard. Direct evidence may also be in the form of a document presented

as an exhibit where the fact to be proved is that the document exists or that the document

is in a certain form or condition. “Circumstantial evidence” is evidence that tends to

prove a disputed fact by proof of other facts. There is a simple example of circumstantial

evidence.

       Assume that when you came into the courthouse this morning the sun was shining

and it was a nice day. Assume that the courtroom blinds were drawn and you could not

look outside. As you were sitting here, someone walked in with an umbrella that was

dripping wet. Then a few minutes later another person also entered with a wet umbrella.

Now, you cannot look outside of the courtroom and you cannot see whether or not it is

raining. So you have no direct evidence of that fact. But on the combination of facts that

I have asked you to assume, it would be reasonable and logical for you to conclude that it

had been raining. You infer on the basis of reason and experience and common sense

from one established fact the existence or non-existence of some other fact.

       Circumstantial evidence is of no less value than direct evidence. The law makes

no distinction between direct evidence and circumstantial evidence. It simply requires

that your verdict must be based on a preponderance of all the evidence presented.

       You should use common sense in weighing the circumstantial evidence and

consider the evidence in light of your own observations in life. In our lives, we often

look at one fact and conclude from it that another fact exists. In law we call this
                                             14
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 15 of 50




“inference.” A jury is allowed to make reasonable inferences. Any inference you make

must be reasonable and must be based on the evidence in the case.


Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 74-
2; 3 Fed. Jury Prac. & Instr. § 101:01 (6th ed.).




                                           15
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 16 of 50




        4.        Depositions

        Some of the testimony you will hear will be in the form of depositions that have

been received in evidence. A deposition is simply a procedure where the attorneys for

one side may question a witness or an adversary party under oath before a court

stenographer prior to trial. This is part of the pretrial discovery, and each side is entitled

to take depositions. You should consider the testimony of a witness given at a deposition

according to the same standards you would use to evaluate the testimony of a witness

given at trial.


Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 74-
14.




                                              16
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 17 of 50




       5.      Witness Credibility

       As a juror, you will be required to resolve various factual issues raised by the

parties in the face of very different pictures painted by both sides. In making these

judgments, you should carefully scrutinize all of the testimony of each witness, the

circumstances under which each witness testified, and any other matter in evidence that

may help you decide the truth and the importance of each witness’ testimony.

       In determining what the truth is, you must decide how believable each witness is

in his or her testimony. You are the sole judges of the credibility of each witness and of

the importance of his or her testimony. Everything a witness says or does on the witness

stand counts in your determination. You should consider such things as how the witness

impressed you; whether he appeared to be frank, forthright and candid, or evasive and

edgy as if hiding something; how the witness appeared; and what his demeanor was --

that is, his behavior, manner and appearance -- while testifying.

       You should use all the tests for truthfulness that you would use in determining

matters of importance to you in your everyday life. You should consider any bias or

hostility the witness may have shown for or against any party as well as any interest the

witness has in the outcome of the case. You should consider the opportunity the witness

had to see, hear, and know the things about which he testified, the accuracy of his

memory, his candor or lack of candor, his intelligence, the reasonableness of his

testimony, its consistency or lack of consistency, and its corroboration or lack of

corroboration with other credible testimony.

       In other words, in evaluating a witness’ credibility, you should consider his or her

demeanor, testimony and all of the other evidence in the case. Always remember that

you should use your common sense, your good judgment and your own life experience.
                                             17
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 18 of 50




Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 76-
1.




                                           18
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 19 of 50




       6.      Discrepancies in Testimony

       You may hear discrepancies in the testimony of certain witnesses, and counsel

may argue that such discrepancies are a reason for you to reject the testimony of those

witnesses.

       Discrepancies in a witness’ testimony or between his or her testimony and the

testimony of others may be a basis to disbelieve a witness’ testimony. However, such

discrepancies do not necessarily mean that the witness’ entire testimony should be

discredited. Whether a discrepancy pertains to a fact of importance or only to a trivial

detail also should be considered in weighing its significance. But a willful falsehood

always is a matter of importance and should be considered seriously.


Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 76-
4.




                                            19
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 20 of 50




       7.      Impeachment by Prior Inconsistent Statements

       You may hear evidence that at some earlier time some witnesses have said or

done something which counsel argues is inconsistent with the witnesses’ trial testimony.

You may also hear the attorneys argue inconsistencies between a witness’s deposition

testimony and his or her trial testimony.

       Evidence of a prior inconsistent statement is not to be considered by you as

affirmative evidence in determining liability. Evidence of a prior inconsistent statement

is placed before you for the more limited purpose of helping you decide whether to

believe the trial testimony of the witness who contradicted himself. If you find that the

witness made an earlier statement that conflicts with his trial testimony, you may

consider that fact in deciding how much of his trial testimony, if any, to believe.

       In making this determination, you may consider whether the witness purposely

made a false statement or whether it was an innocent mistake; whether the inconsistency

concerns an important fact, or whether it had to do with a small detail; whether the

witness had an explanation for the inconsistency, and whether that explanation appealed

to your common sense.

       It is your duty, based upon all the evidence and your own good judgment, to

determine whether the prior statement was inconsistent, and if so how much, if any,

weight to give to the inconsistent statement in determining whether to believe all or part

of the witness’ testimony. It is for you to decide, based on your total impression of the

witness, how to weigh the discrepancies in his or her testimony. You should, as always,

use common sense and your own good judgment.


Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 76-
5.

                                             20
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 21 of 50




       8.      Falsus in Uno

       If you find that any witness has deliberately testified falsely as to any material

issue in this case, you may disregard all or whatever part you choose of that witness’s

testimony.


Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 76-
8; Fed. Jury Prac. & Instr. § 105:04.




                                             21
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 22 of 50




       9.      Expert Witnesses

       In this case, certain witnesses will be expressing their opinions about matters that

are at issue. A witness may be permitted to provide an opinion on those matters about

which he or she has special knowledge, skill, experience and training. Such testimony is

presented to you on the theory that someone who is experienced and knowledgeable in

the field can assist you in understanding the evidence or in reaching an independent

decision on the facts.

       In weighing this opinion testimony, you may consider the witness’s qualifications,

his or her opinions, the reasons for testifying, as well as all of the other considerations

that ordinarily apply when you are deciding whether or not to believe a witness’s

testimony. You may give the opinion testimony whatever weight, if any, you find it

deserves in light of all the evidence in this case. You should not, however, accept

opinion testimony merely because I allow the witness to testify concerning his or her

opinion. Nor should you substitute it for your own reason, judgment and common sense.

The determination of the facts in this case rests solely with you.


Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 76-
9.




                                              22
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 23 of 50




       10.    Striking Evidence

       I may order that certain information or evidence be stricken from the record and I

am instructing you that you must disregard that information or testimony. That means

that when you are deciding the case, you must not consider the stricken information or

testimony in any way.


Authority: Adapted from 2 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 2.9,
3-21.




                                           23
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 24 of 50




       11.     Foreign Language Testimony

       Certain testimony, either live or from a video recording, may be in German. The

evidence you are to consider is only that provided through the official court translators.

Although some of you may know and understand German, it is important that all jurors

consider the same evidence. So you must base your decision on the evidence presented

in the official English translation. You must disregard any different meaning.


Authority: Adapted from 2 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶¶
2.7, 2.12, 3-23, and 9-29.




                                             24
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 25 of 50




III.    SPECIFIC INSTRUCTIONS - LIABILITY

        1.      Breach of Contract – Generally

        A contract, generally speaking, is a promise or set of promises made either orally

or in a document or series of documents, the breach of which the law provides a remedy

for or the performance of which the law recognizes as a duty. A “breach of contract” is a

failure by a party to a contract to keep those promises that results in damage being caused

to the other party (or parties) to the contract.

        With respect to their breach of contract claims, the parties must prove four

elements by a preponderance of the evidence. These are that:

        (i) a contract exists between the parties;

        (ii) the complaining party performed the contract;

        (iii) the other party failed to perform, or “breached” the contract; and

        (iv) the result was damage to the complaining party.

        In determining what rights or obligations the parties had under the agreements at

issue, you must first look to the language of those agreements themselves. The words

and phrases contained in the agreements are to be given their plain and ordinary meaning.

        When determining how the parties intended that the language in the agreements at

issue be interpreted, keep in mind that it is not a party’s individual secret or unexpressed

intent, but the parties’ objective mutual intent that is controlling. The objective intent of

the parties is determined first by the language of the written agreements, but also by

considering the relationship of the parties, what they said and what they did, their course

of conduct throughout their business relationship, the reasonable expectations of the

parties, the business purpose to be served by their agreement, and any other surrounding

circumstances. Intent may also be determined by circumstantial evidence, such as the

                                               25
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 26 of 50




party’s internal communications, minutes of internal meetings or meetings of the board of

directors, and communications with non-parties. Be mindful, however, that a party’s

secret or unexpressed intent that is inconsistent with the language of the agreements or

course of dealing between the parties has no bearing. Only the mutual objective intent of

the parties as indicated by the parties’ words and actions may be considered.


Authority: Adapted from Fed. Jury Prac. & Instr. § 126:03 and accompanying notes;
N.Y. Pattern Jury Instr. - Civil § 4:1, cmt. p. 686.




                                            26
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 27 of 50




       3.      Modification of Contract

       Under New York law, a contract may be modified by a writing that is signed by

the party against whom enforcement of the change is sought or by that party’s agent.

Even when a contract provides that modifications must be in writing and signed,

however, New York will enforce oral modifications where there has been (i) partial

performance, or (2) reliance, but only where the subsequent performance or reliance is

unequivocally referable to the oral modification.


Authority: New York Pattern Jury Instructions § 4:1; N.Y. Gen. Oblig. Law § 15-301
(1); Am. Int'l Tel., Inc. v. Mony Travel Servs., Inc., No. 99 Civ. 11581 (CM), 2001 WL
209918, at *4 (S.D.N.Y. Feb. 23, 2001).




                                            27
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 28 of 50




       4.      Breach of Contract – Underpayment

       In this case, Geistlich claims that Luitpold breached the Bio-Oss Commercial

Agreement by failing to pay for the Bio-Oss and Bio-Gide products using the “Net Sales”

formula of Section 7.01 of the Bio-Oss Commercial Agreement.

       To prevail on its breach of contract claim for underpayment, Geistlich must prove

by a preponderance of the evidence that (i) Geistlich performed its obligations under the

Bio-Oss Commercial Agreement; (ii) the Bio-Oss Commercial Agreement required that

the “Net Sales” formula – and not any other price contained in any subsequent written

agreement – be paid for Bio-Oss and Bio-Gide products; (iii) Luitpold failed to pay

Geistlich in accordance with the “Net Sales” formula; and (iv) Luitpold's failure to pay in

accordance with the “Net Sales” formula caused specific damage to Geistlich.


Authority: Adapted from New York Pattern Jury Instructions § 4:1 at 640.




                                            28
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 29 of 50




       5.      Breach of Contract – “Best Efforts” In Executing Business Plan

       Geistlich claims that Luitpold breached Section 2.02 of the Bio-Oss Commercial

Agreement, which refers to Luitpold’s obligation to use its “best efforts” to continue

execution of the Business Plan attached to the Bio-Oss Commercial Agreement.

       To prevail on this claim, Geistlich must prove by a preponderance of the evidence

that (i) that Geistlich performed its obligations under the Bio-Oss Commercial

Agreement; (ii) that the Bio-Oss Commercial Agreement required that Luitpold exercise

its “best efforts” to continue execution of the Business Plan; (iii) that Luitpold failed to

do so; and (iv) that Luitpold's failure to do so caused specific damage to Geistlich.

       It is the language of the Agreements at issue that should define what Luitpold’s

obligations were. Under New York law, however, a clause imposing a “best efforts”

marketing obligation does not automatically create a duty for the distributor to

exclusively distribute that product. Thus, in the absence of a clause expressly requiring

Luitpold not to carry competitive products, you should not infer that Luitpold owed a

duty of exclusivity to Geistlich.

       Again, it is the language of the Agreement that controls here. Thus, if you find

that the Bio-Oss Commercial Agreement’s Business Plan contains a clear set of

guidelines against which to measure whether Luitpold fulfilled its obligations, then you

should apply those guidelines in determining whether Luitpold breached Section 2.02 of

the Bio-Oss Commercial Agreement. You may not employ any other standard for

measuring Luitpold’s “best efforts” to continue execution of the Business Plan other than

what is clearly set forth in Section 2.02 of the Bio-Oss Commercial Agreement. Thus,

any expert opinion testimony that you may have heard about an industry standard for

determining what Luitpold’s “best efforts” to continue execution of the Business Plan
                                              29
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 30 of 50




should have been is only relevant to your determination if you find that the industry

standard was the standard that was embodied in Section 2.02 of the Bio-Oss Commercial

Agreement.


Authority: Adapted from New York Pattern Jury Instructions § 4:1 at 640; Pure Power
Boot Camp, Inc. v. Warrior Fitness Boot Camp, LLC, 813 F. Supp. 2d 489, 516
(S.D.N.Y. 2011) (quoting Mocca Lounge, Inc. Misak, 94 A.D.2d 761, 763 (N.Y. App.
Div. 1983)); Ashokan Water Servs. Inc. v. New Start, LLC, 807 N.Y.S.2d 550, 556 (N.Y.
Cir. Ct. 2006); and Bray Int’l, Inc. v. Computer Assocs. Int’l, Inc., CIV.A. H-02-98, 2005
WL 2405924 (S.D. Tex. Sept. 29, 2005); Polyglycoat Corp v. C.P.C. Distribs., Inc., 534
F.Supp. 200, 203 (SDNY 1982); New Paradigm Software Corp. v. New Era of Networks,
Inc., 99-cv-12409, 2002 WL 31749396, * 15; Van Valkenburgh, Nooger & Neville v.
Hayden Publ. Co., 30 N.Y.2d 34, 45, 330 N.Y.S.2d 329 (1972).




                                            30
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 31 of 50




       6.      Trademark - Definition

       A trademark is a word, a name, a symbol, a device, or a combination of them

indicating the source of goods or services. The [owner] [assignee] [licensee] of a

trademark has the right to exclude others from using that trademark subject to certain

defenses.


Authority: Adapted from Fed. Jury Prac. & Instr. § 159:41 and accompanying notes.




                                            31
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 32 of 50




       7.      Trademark Ownership – Exclusive License

       The owner of a trademark may enter into an agreement that permits another

person to use the trademark. This type of agreement is called a license, and the person

permitted to use the trademark is called a licensee.

       The relationship between the trademark owner-licensor and the licensee can be

either exclusive or nonexclusive. If exclusive, the license exclusivity is typically for a

defined territory. That is to say, an exclusive license allows the licensee it to exclude

others from the defined territory. If the licensor has an existing exclusive license

agreement with a first licensee, any subsequent license will be considered void. By

contrast, a nonexclusive permits competition with the licensee in the defined territory.

       In this case, Luitpold was an exclusive licensee of Geistlich’s trademarks for Bio-

Oss and its related products, including Bio-Gide, Bio-Oss Collagen, and Bio-Tape, within

the territory of the United States.


Authority: Adapted from Fed. Jury Prac. & Instr. § 159:48 and accompanying notes.
See also Matrix Group Ltd., Inc. v. Rawlings Sporting Goods Co., 477 F.3d 583, 586 (8th
Cir. 2007) (exclusive license agreement for the licensee to use the trademark owner's
trademark in the production, marketing, and sale of sport bags). San Juan Products, Inc.
v. San Juan Pools of Kansas, Inc., 849 F.2d 468, 474, 7 U.S.P.Q.2d 1230 (10th Cir.
1988); Upper Deck Authenticated, Ltd. v. CPG Direct, 971 F. Supp. 1337, 1347 (S.D.
Cal. 1997); Bliss Clearing Niagara, Inc. v. Midwest Brake Bond Co., 339 F. Supp. 2d
944, 960 (W.D. Mich. 2004); Auto-Chlor System of Minnesota, Inc. v. Johnson Diversey,
328 F.Supp. 2d 980, 1019, 54 U.C.C. Rep. Serv. 2d 443 (D. Minn. 2004).




                                             32
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 33 of 50




       8.      Breach of Contract – Exclusive Trademark License

       In this case, Luitpold counterclaims that Geistlich breached the Bio-Oss and Bio-

Gide License Agreements by advertising products called “Geistlich Bio-Oss” and

“Geistlich Bio-Gide” in both United States-accessible websites and in trade journals

distributed in the United States.

       To prevail on its counterclaim for breach of the exclusive license, Luitpold must

prove by a preponderance of the evidence that (i) Luitpold performed its obligations

under the Bio-Oss and Bio-Gide License Agreements; (ii) that the Bio-Oss and Bio-Gide

License Agreements gave Luitpold an exclusive license to use the Bio-Oss and Bio-Gide

marks in the United States; (iii) that Geistlich used the Bio-Oss and Bio-Gide marks in

the United States while the Bio-Oss and Bio-Gide License Agreements were in force; and

(iv) that Geistlich’s use of the Bio-Oss and Bio-Gide marks caused damage to Luitpold.


Authority: Adapted from New York Pattern Jury Instructions § 4:1 at 640.




                                           33
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 34 of 50




       9.      Affirmative Defense - General Instruction

       Luitpold has asserted affirmative defenses against Geistlich's claims of breach of

contract in this case. An affirmative defense is a fact or circumstance that legally excuses

the party claiming the defense from being liable to the other party, even if the other party

meets its burden of proof on its claim. The party asserting the affirmative defense bears

the burden of proving the defense by a preponderance of the evidence.

       If you find that Geistlich has sustained its burden of proof on any of its claims of

breach of contract against Luitpold, then you should proceed to consider Luitpold's

affirmative defenses. The burden is then on Luitpold to establish its affirmative defenses.


Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 73-
1.




                                             34
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 35 of 50




       10.      Luitpold’s Affirmative Defense of Waiver

       In this case, Luitpold asserts the affirmative defense of “waiver” against

Geistlich’s claims of breach of contract.

       A party to a contract may waive the other party’s obligation to perform some

requirement under the contract, in which case the other party has no obligation to perform

the waived requirement. A waiver occurs when a party, with knowledge of the relevant

facts, intentionally relinquishes the right to performance of a particular contractual

obligation. A waiver may be based on verbal or written statements. Alternatively, a

waiver may be implied by a party’s conduct. In addition, a party who does not take steps

to assert a breach of a contract’s provisions and instead continues to accept benefits under

that contract and who continues to perform under that contract may be deemed to have

waived any rights to assert a breach of those provisions.

       Geistlich claims that Luitpold failed to pay the “Net Sales” formula for the

purchase price instead of the price Geistlich confirmed in Luitpold’s purchase orders.

Luitpold argues that it paid in full all amounts that Geistlich invoiced for the products

sold under the Agreement, and that Geistlich never asked Luitpold to pay more. Luitpold

also argues that over the course of its business relationship with Geistlich, Geistlich

accepted the lower “transfer price” as payment under the Agreement and never asked

Luitpold to pay the higher “purchase price.” Luitpold also claims that the parties agreed

not to pay the “Net Sales” formula on the one occasion when it was tried when Luitpold

sought to recover overpayments from Geistlich. As a result, Luitpold argues that

Geistlich has waived its right to now claim that Luitpold’s payment of the “purchase

price” in lieu of “transfer price” constitutes a breach of the Agreement.



                                             35
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 36 of 50




       Geistlich also claims that Luitpold breached Section 2.02 of the Bio-Oss

Commercial Agreement by simultaneously marketing and selling a non-Geistlich product

called GEM 21S. Luitpold asserts that over the course of its business relationship with

Geistlich, Geistlich was aware that Luitpold was openly and publicly marketing and

selling GEM 21S, that Luitpold refused Geistlich’s request to stop selling GEM 21S, and

that Geistlich acquiesced in Luitpold’s refusal and did not bring any action to stop

Luitpold from selling GEM21S but instead elected to continue to operate under and enjoy

the benefits of the agreements at issue while jointly developing a PDGF product with

Luitpold. As a result, Luitpold argues that Geistlich has waived its right to now claim

that Luitpold’s marketing and selling of non-Geistlich products such as GEM 21S at the

same time as it was marketing and selling Geistlich’s Bio-Oss and Bio-Gide products was

a breach of Section 2.02 of the Bio-Oss Commercial Agreement.

       If you find that Luitpold has met its burden of proof in establishing that the

Geistlich waived either or both of these claims that Luitpold breached the Bio-Oss

Commercial Agreement, you must find in favor of Luitpold on this affirmative defense.


Authority: Fed. Jury Prac. & Instr. § 126:12 (6th ed.).




                                            36
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 37 of 50




          11.    Luitpold’s Affirmative Defense of Laches and Delay

          Luitpold asserts that Geistlich unreasonably delayed in bringing its claims for

breach of contract, and that thus those claims are also barred by the equitable doctrine of

laches.

          The doctrine of laches bars recovery where a party’s inaction or delay in initiating

a lawsuit has prejudiced another party, making it inequitable to permit recovery. The

delay must be inexcusable under the circumstances, and must prejudice the defending

party. Prejudice, in this context, means to cause substantial harm. Thus, to prove its

affirmative defense of laches, Luitpold must show by a preponderance of the evidence

that: (1) Geistlich inexcusably delayed making its claim; and (2) that Luitpold was

substantially harmed as a result.

          If you find that Geistlich’s delay in asserting its claim for payment of the

“purchase price” under the Bio-Oss Commercial Agreement was inexcusable, that this

delay caused prejudice or harm to Luitpold, and that Luitpold has proven these things by

a preponderance of the evidence, then you must find for Luitpold on this defense.


Authority: Ivani Contracting Corp. v. City of New York, 103 F.3d 257, 259 (2d Cir.
1997); Guardian Music Corp. v. James W. Guercio Enterprises, Inc., 459 F. Supp. 2d
216, 223 (S.D.N.Y. 2006) aff'd, 271 F. App'x 119 (2d Cir. 2008); Saratoga County
Chamber of Commerce, Inc. v. Pataki, 100 N.Y.2d 801, 817, 798 N.E.2d 1047, 1055-56
(N.Y. 2003).




                                               37
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 38 of 50




IV.    SPECIFIC INSTRUCTIONS – DAMAGES

               1.       Damages

       If Geistlich has proven by a preponderance of the credible evidence that Luitpold

is liable on Geistlich’s breach of contract claims, then you must determine whether there

are damages to which Geistlich is entitled. However, you should not infer that Geistlich

is entitled to recover damages merely because I am instructing you on the elements of

damages. It is exclusively your function to decide upon liability, and I am instructing

you on damages only to give you guidance about how to decide whether Geistlich is

entitled to recovery.


Authority: Adapted from Sand, et al., Modern Federal Jury Instructions, Volume 4
(Civil), Instruction 77-1.




                                            38
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 39 of 50




       2.      Proximate Cause

       A party is only entitled to recover damages for loss or harm that was proximately

caused by the other party's breach of the contract, if any. In law, a breach of contract is

considered to have proximately caused a loss or harm if the breach was a substantial

factor in bringing about the loss or harm. Therefore, you may not award damages on any

of Geistlich’s claims for breach of contract unless you find that Luitpold’s breach of

contract, if any, was a substantial factor in bringing about Geistlich’s loss or harm, if any.


Authority: Adapted from New York Pattern Jury Instructions 2:70.




                                             39
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 40 of 50




       3.      Compensatory Damages

       The purpose of the law of damages is to award just and fair compensation for the

loss, if any, which may have resulted from a defendant’s violation of the plaintiff’s rights.

If you find that Geistlich has proven by a preponderance of the evidence that Luitpold is

liable on the claims as I have explained them, then you must determine the amount, if

any, of damages needed to compensate Geistlich for any injury that you find was

proximately caused by Luitpold’s conduct.

       These are known as “compensatory damages.” Compensatory damages seek to

make the plaintiff whole – that is, to compensate him or her for the amount of damages

suffered – no more, and no less. Damages for a breach of contract should place the

wronged party in as good a position as that party would have been if the breaching party

had fully performed its obligations under the contract.

       I remind you that you may award compensatory damages only for injuries that

Geistlich proves were proximately caused by Luitpold’s allegedly wrongful conduct. The

damages that you award must be fair and reasonable, neither inadequate nor excessive.

You should not award compensatory damages for injuries based on speculation about

what injuries Geistlich may have suffered, but only for injuries that Geistlich has actually

suffered.

       In awarding compensatory damages, if you decide to award them, you must be

guided by dispassionate common sense. In computing damages, you must not engage in

arbitrary guesswork. You are to use your sound discretion in fixing an award of

damages, drawing reasonable inferences where you deem appropriate from the facts and

circumstances in evidence.



                                             40
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 41 of 50




Authority: Adapted from Sand, et al., Modern Federal Jury Instructions, Volume 4
(Civil), Instruction 77-3.




                                         41
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 42 of 50




       4.      Lost Profits

       Geistlich claims that it has lost profits as a result of Luitpold’s breach of Section

2.02 of the Bio-Oss Commercial Agreement. Lost profits is recognized as one method of

proving the amount that would place a non-breaching party in the position it would have

been in had the agreement been fulfilled on its terms. However, there are stringent

requirements for the recovery of lost profits. Under New York law, Geistlich can only

recover lost profits – to the extent there were any – if and only if it establishes by a

preponderance of the evidence that:

       (1) the lost profit damages it claims to be entitled to were proximately caused by

Luitpold’s breach;

       (2) the existence and the amount of the lost profit damages can be proved with

reasonable certainty; and

       (3) the lost profit damages were fairly within the contemplation of both Geistlich

and Luitpold at the time the Bio-Oss Commercial agreement was made.

       Lost profit damages may not be merely speculative, possible or imaginary. They

must be reasonably certain and directly traceable to the breach, not remote or the result of

other intervening causes. In other words, to establish the existence and amount of lost

profit damages, Geistlich must establish that the lost profit damages are capable of

measurement based on reliable factors without undue speculation. Lost profit calculations

that are based on a multitude of assumptions that require speculation and conjecture do

not provide the required reasonable certainty to establish lost profit damages.


Authority: Care Travel Co., Ltd. v. Pan Am. World Airways, Inc., 944 F.2d 983, 994 (2d
Cir. 1991); Kenford Co., Inc. v. Erie County, 67 N.Y.2d 257, 261, 493 N.E.2d 234
(1986).


                                              42
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 43 of 50




       5.      Calculation of Lost Profit Damages

       To allow you to calculate the amount, if any, of Geistlich’s lost profit damages,

Geistlich must establish what additional revenues it would have received from Bio-Oss

and/or Bio-Gide sales if Luitpold had not breached Section 2.02 of the Bio-Oss

Commercial Agreement. Geistlich must also establish for you what costs, if any, it would

have incurred in manufacturing the Bio-Oss and/or Bio-Gide sold to Luitpold. You

would then calculate lost profit damages, if any, by subtracting Geistlich’s costs from

Geistlich’s revenues.

       In calculating lost profit damages, you must not be influenced by sympathy or

dislike of any party in this case, or by a desire to “punish” a party. Lost profit damages

are not allowed as a punishment against a party. You must also rely solely on the

evidence of revenues and costs that Geistlich is actually able to establish, and must avoid

engaging in arbitrary guesswork or speculation about what the amount of lost profit

damages, if any, should be.


Authority: Delchi Carrier Spa v. Rotorex Corp., 71 F.3d 1024, 1029-1030 (2d Cir. N.Y.
1995); Indu Craft, Inc. v. Bank of Baroda, 47 F.3d 490, 495 (2d Cir. 1995); Adams v.
Lindblad Travel, Inc., 730 F.2d 89, 92 (2d Cir. 1984); Aristocrat Leisure Ltd. v. Deutsche
Bank Trust Co. Americas, 727 F. Supp. 2d 256, 286-287 (S.D.N.Y. 2010); Alesayi Bev.
Corp. v. Canada Dry Corp., 947 F. Supp. 658, 671 (S.D.N.Y. 1996).




                                             43
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 44 of 50




         6.      Prejudgment Interest

         If you find Geistlich’s favor on either of its breach of contract claims and award

Geistlich damages as a result, then you must decide certain questions relating to what is

referred to as “prejudgment interest.” The law permits a party that has been awarded an

amount of damages by a jury to also be awarded prejudgment interest on the amount

awarded. Prejudgment interest is calculated for the period of time between the earliest

date on which the cause of action accrued through the date you reached your verdict.

         Prejudgment interest is not a penalty. It is designed only to make the aggrieved

party whole by compensating it for being deprived of the monetary value of his or her

loss from the time of the loss to the time you reached your verdict.

         The law requires that you, as the triers of fact, fix the dates relevant to the

computation of prejudgment interest. Again, the law is that the prevailing party may

recover prejudgment interest on an award of damages from the earliest ascertainable date

on which the cause of action accrued to the date you entered your verdict. With respect

to Geistlich’s claims for breach of contract, the cause of action accrued on the earliest

ascertainable date that Luitpold breached the Agreements at issue.

         Once you have determined the dates for which prejudgment interest should be

applied, you need not do the mathematical calculations. You need only advise the court

as to the date or dates from which you, based on the evidence that you have heard, have

determined that such interest should run. The actual calculations will be done by the

Clerk.


Authority: Adapted from notes to New York Pattern Jury Instructions 4:20;
McKinney’s NY CPLR §§ 5001 and 5003 and notes.



                                               44
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 45 of 50




       7.      Mitigation of Damages

       You are instructed that any person who claims damages as a result of an alleged

wrongful act of another has a duty under the law to use reasonable diligence under the

circumstances to “mitigate,” or minimize, those damages. The law imposes on a party

that, like Geistlich, claims to be injured, the duty to take advantage of reasonable

opportunities that party may have to prevent the aggravation of any injuries, so as to

reduce or minimize the loss or damage. It is Luitpold’s burden to prove that damages

could have been reasonably mitigated, or minimized, by Geistlich.

       If you find Luitpold is liable and that Geistlich has suffered damages, Geistlich

may not recover for any injury it could have avoided through reasonable effort. If you

find that Luitpold has proven by a preponderance of the evidence that Geistlich

unreasonably failed to take advantage of an opportunity to lessen its damages, you should

deny recovery for those damages that Geistlich would have avoided had it taken

advantage of the opportunity.


Authority: Adapted from Sand, et al., Modern Federal Jury Instructions, Volume 4
(Civil), Instruction 77-7).




                                             45
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 46 of 50




V.     GENERAL INSTRUCTIONS – DELIBERATION

       1.      Duty To Deliberate / Unanimous Verdict

       You will now return to the jury room to decide the case. In order to prevail,

Geistlich or Luitpold must sustain their respective burdens of proof as I have explained to

you with respect to each element of their claims or affirmative defenses. If you find that

Geistlich has succeeded, you should return a verdict in its favor on that claim. If you find

that Geistlich failed to sustain its burden on any element of its claims, you should return a

verdict against it. Similarly, if you find that Luitpold has failed to sustain its burden with

respect to any element of any affirmative defense Luitpold has asserted, you must return

a verdict against Luitpold on that defense.

       It is your duty as jurors to consult with one another and to deliberate with a view

to reaching an agreement. Each of you must decide the case for himself or herself, but

you should do so only after a consideration of the case with your fellow jurors, and you

should not hesitate to change an opinion when convinced that it is erroneous. Your

verdict must be unanimous, but you are not bound to surrender your honest convictions

concerning the effect or weight of the evidence for the mere purpose of returning a

verdict or solely because of the opinion of other jurors. Discuss and weigh your

respective opinions dispassionately, without regard to sympathy, prejudice or favor for

either party, and adopt that conclusion which in your good conscience appears to be in

accordance with the truth.

       Again, each of you must make your own decision about the proper outcome of

this case based on your consideration of the evidence and your discussions with your

fellow jurors. No juror should surrender his or her conscientious beliefs solely for the

purpose of returning a unanimous verdict.

                                              46
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 47 of 50




Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 78-
3




                                           47
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 48 of 50




       2.      Deadlock Charge: Reaching Agreement

       This case is important for parties. The parties, as well as the court, have expended

a great deal of time, effort and resources in seeking a resolution of this dispute.

       It is desirable that a verdict be reached, but your verdict must represent the

conscientious judgment of each juror.

       While you may have honest differences of opinion with your fellow jurors during

the deliberations, each of you should seriously consider the arguments and opinions of

the other jurors. Do not hesitate to change your opinion if, after discussion of the issues

and consideration of the facts and evidence in this case, you are persuaded that your

initial position is incorrect. However, I emphasize that no juror should vote for a verdict

unless it represents his or her conscientious judgment.


Authority: Adapted from 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 78-
4.




                                             48
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 49 of 50




       3.      Selection of Foreperson

       When you retire, you should elect one member of the jury as your foreperson.

That person will preside over the deliberations and speak for you here in open court.


Authority: Adapted from the instructions of Hon. Miriam Cedarbaum, Wires S.A. v.
Sark-USA, Inc., Instructions at 2005 WL 6104366 (S.D.N.Y. 2005).




                                            49
  Case 1:11-cv-00681-KBF Document 404-21 Filed 09/11/15 Page 50 of 50




       4.      Return of Verdict

       After you have reached a verdict, your foreperson will fill in the form that has

been given to you, will also sign and date it, and will advise the marshal outside your

door that you are ready to return to the courtroom.

       I will stress that you should be in agreement with the verdict that is announced in

court. Once your verdict is announced by your foreperson in open court and officially

recorded, it cannot ordinarily be revoked.


Authority: 4 L. Sand, et al., Modern Federal Jury Instructions: Civil ¶ 78-6




                                             50
